       Case 1:23-md-03083-ADB Document 464-2 Filed 12/15/23 Page 1 of 2




                           APPENDIX B
  TINA WOLFSON’S CURRENT MDL COMMITMENTS AND OTHER RELEVANT
                     CLASS ACTION EXAMPLES

Pending:

In re Google Digital Advertising Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y.) (antitrust MDL)
Hon. P. Kevin Castel (212) 805-00262, CastelNYSDChambers@nysd.uscourts.gov.
      Co-lead counsel for advertising class: direct all litigation, coordinate with DOJ, state AGS’s
      and other plaintiff classes. Currently, the case requires 15-20 hours of my time monthly.

In re Am. Med. Collection Agency, Inc., Customer Data Sec. Breach Litig., No. 2:19-md-2904
(D.N.J.) (consumer data breach MDL) Hon. Madeline Cox Arleo, (973) 297-4903.
      PSC for Labcorp consumers: plaintiff vetting, draft pleadings, discovery. No current
      assignments.

Klein, et al. v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.) (antitrust): Hon. James
Donato; (415) 522-2066.
     PSC for advertiser class: discovery and briefing. No current assignments other than
     supervising document review performed by junior associates.

In re Allergan Biocell Textured Breast Implant Prods. Liab. Litig., No. 2:19-md-2921 (D.N.J.)
(medical       device     MDL)        Hon.     Brian      R.     Martinotti     (973)     645-6651,
njdnef_martinotti@njd.uscourts.gov.
      Plaintiffs’ Executive Committee: Legal research and briefing, plaintiff vetting and fact
      sheets, discovery, class certification. The case currently requires 3-5 hours per month of my
      time.

In re ZF-TRW Airbag Control Units Prods. Liab. Litig., No. 2:19-ml-2905 (C.D. Cal.) (product
defect) Hon. John A. Kronstadt (213) 894-2156, jak_chambers@cacd.uscourts.gov.
      Plaintiff Steering Committee: Legal research and briefing, including appeals. Toyota settled,
      other mediations ongoing, no current assignments.

In re Apple Data Privacy Litig., No. 5:22-cv-07069 (N.D. Cal.) (data privacy) Hon. Edward J.
Davila (408) 535-5454, ejdcrd@cand.uscourts.gov (courtroom deputy).
     Plaintiffs’ Steering Committee: assisted with drafting and finalizing consolidated complaint;
     legal research and briefing, including for a pending motion to dismiss. The case currently
     requires 10-15 hours per month of my time.

Concluded:

Rivera v. Google LLC, No. 2019-CH-00990 (Ill. Cir. Ct.) (biometric privacy) Hon. Edmond E.
Chang (312) 435-5795 (N.D. Ill. – case removed) and Hon. Anna M. Loftus (312) 603-6025.
     Co-lead counsel: directed all aspects of litigation, in federal and state court on remand,
     including an appeal to the Seventh Circuit. Achieved a $100 million non-reversionary cash
     settlement fund for Illinois consumers and overhauled Google’s biometric privacy practices
     related to Google pics.


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       Case 1:23-md-03083-ADB Document 464-2 Filed 12/15/23 Page 2 of 2




Zoom Video Commc’ns, Inc. Privacy Litig., No. 3:20-cv-02155 (N.D. Cal.) (consumer privacy)
Hon. Lucy J. Koh (9th Cir.) and Hon. Laurel Beeler (415) 522-3140.
     Co-lead counsel: directed all aspects of litigation, managed a PSC of 3 firms. Achieved an
     $85 million non-reversionary cash settlement that refunded consumers 15% of their
     subscription payments and flat cash amounts for free accounts, plus robust injunctive relief
     overhauling Zoom’s data collection and security practices.

In re Google Location History Litigation No. 18-cv-05062 (N.D. Cal.) (consumer privacy) Hon.
Edward J. Davila 408-535-5454, ejdcrd@cand.uscourts.gov (courtroom deputy).
      Co-lead counsel: directed all aspects of litigation, managed a PSC of 5 firms, preliminary
      approval of $62 million non-reversionary common fund settlement.

In re Ambry Genetics Data Breach Litig., No. 8:20-cv-00791 (C.D. Cal.) (consumer data breach)
Hon. Cormac J. Carney (714) 338-4750, CJC_Chambers@cacd.uscourts.gov.
      Co-lead counsel: directed all aspects of litigation, achieved a settlement valued at over $20
      million including a $12.25 non-reversionary common fund for 225,000 class members.

In re U.S. Office of Personnel Mgmt. Data Sec. Breach Litig., No. 1:15-mc-1394 (D.D.C.) (data
breach) Hon. Amy Berman Jackson (202) 354-3460.
      PSC: briefing and oral argument at trial level and appeal, settlement, $63 million settlement.

In re Experian Data Breach Litig., No. 8:15-cv-01592 (C.D. Cal.) (consumer data breach) Ret.
Hon. Andrew J. Guilford (714) 834-1340 (Judicate West).
      Co-Lead counsel: directed all aspects of litigation, managed a PSC of eight firms. Achieved
      a settlement valued at $150 million for a class of 15 million consumers.

In re Premera Blue Cross Customer Data Sec. Breach Litig., No. 3:15-md-02633 (D. Or.)
(consumer data breach MDL) Hon. Michael H. Simon (503) 326-8380,
simon_crd@ord.uscourts.gov.
     Plaintiff executive committee: research, briefing, oral argument, discovery including
     technical and damage expert depositions, year-long settlement negotiation. Achieved the
     largest per capita settlement to date, valued at $74 million, including a $32 million non-
     reversionary fund.

In re Apple Inc. Device Performance Litig., No. 5:18-md-2827 (N.D. Cal.) (product defect) Hon.
Edward J. Davila 408-535-5454, ejdcrd@cand.uscourts.gov (courtroom deputy).
      Plaintiffs’ Executive Committee: plaintiff vetting and consolidated complaints, discovery,
      technical forensic experts. Settlement for minimum $310 million non-revisionary fund, with
      $500 million ceiling.

Eck v. City of Los Angeles, No. BC577028 (Cal. Super. Ct.) (consumer tax) Ret. Hon. Ann I.
Jones (213) 433-5771 (Signature Solutions), ezicari@signatureresolution.com.
     Co-Lead counsel: directed every aspect of litigation and settlement. Obtained certification of
     the plaintiff class in litigation and achieved a $295 million class settlement.




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